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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION

UNITED STATES OF AMERICA,                    Case No. 18-CR-20489

             Plaintiff,                      Thomas L. Ludington
v.                                           United States District Judge

                                             Patricia T. Morris
JAMES D. PIERON, JR.,                        United States Magistrate Judge

          Defendant.
______________________________/

        GOVERNMENT’S RESPONSE OPPOSING DEFENDANT’S MOTION TO
                DISMISS WITH PREJUDICE, ECF NO. 39.

      In March 2019, James Pieron was tried and convicted of one count of

attempting to evade or defeat the payment of his 2008 and 2009 federal income

taxes. On March 3, 2019, during the trial, Pieron filed a motion to dismiss the

indictment. (Def’s Motion to Dismiss, ECF No. 39, PageID.228-239). In the

motion, Pieron argued that the government violated Brady v. Maryland and Rule

16, and he claimed the IRS violated the Taxpayer Bill of Rights. Though the

parties discussed the motion during trial, (Trial Tr. Vol 4, ECF No. 53,

PageID.781-814) the court did not rule on it, and Pieron has filed a post-conviction

supplemental brief pressing his claims. (Def’s Supp. Br., ECF No. 177,

PageID.3992-4011). As discussed below, the court should deny Pieron’s motion.

Pieron cannot show any prejudice with respect to his alleged Brady and Rule 16

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claim, and Pieron cannot show any violation of his constitutional rights with

respect to his alleged Taxpayer Bill of Rights claim. Because of this, the court

should deny his motion.

   1. Pieron is not entitled to relief on any Brady or Rule 16 claims.

      During the course of trial, the government provided Pieron’s defense team

with records that had not been produced in pretrial discovery. Government counsel

did not act in bad faith and disclosed the records as soon as they realized their

mistake. Pieron cannot show any prejudice from the mid-trial disclosure of the

documents, and therefore he cannot show a Brady violation or that he would be

entitled to relief under Rule 16.

      There are three elements to a Brady claim. Strickler v. Greene, 527 U.S. 263,

281-82 (1999). Pieron must establish (1) that the evidence was favorable to him;

(2) that the government suppressed the evidence (whether “willfully or

inadvertently:); and (3) that prejudice ensued. Id. To satisfy the prejudice element,

Pieron must show a “reasonable probability” that he would have been acquitted. Id.

      “Generally speaking, Brady does not apply to delayed disclosure, but only to

a complete failure to disclose.” United States v. Spry, 238 F. App'x 142, 147 (6th

Cir. 2007) (citing United States v. Davis, 306 F.3d 398, 421 (6th Cir.2002)). “If

previously undisclosed evidence is disclosed, as here, during trial,

no Brady violation occurs unless the defendant has been prejudiced by the delay in

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disclosure.” Spry, 238 F. App'x at 147 (quoting United States v. Word, 806 F.2d

658, 665 (6th Cir.1986)).

      To demonstrate prejudice, Pieron “must show what he would have done

differently had he been given more time to address the Brady evidence, and

specifically how, had the evidence been given to the defendant earlier, a reasonable

probability exists [that the jury would have acquitted him].” Spry, 238 F. App'x at

147–48 (6th Cir. 2007) (citing Farrell v. United States, 162 Fed.Appx. 419, 424

(6th Cir.2006); United States v. Delgado, 350 F.3d 520, 527 n. 10 (6th

Cir.2003); United States v. Blackwell, 459 F.3d 739, 759 (6th Cir.2006)). Because

Pieron cannot meet this high standard, the court should deny his Brady claim.

      With respect to Pieron’s claims under Federal Rule of Criminal Procedure

16, the court has considerable discretion in whether to impose a sanction for a Rule

16 violation. United States v. Maples, 60 F.3d 244, 246 (6th Cir. 1995). In

exercising its discretion, the court should consider whether the government acted

intentionally or in bad faith, the degree of prejudice, and whether the prejudice can

be cured with a less severe course of action. Id. at 246. “District courts should

embrace the ‘least severe sanction necessary’ doctrine”…. Id. at 247. As discussed

below, government counsel did not make the mid-trial disclosures in bad faith, and

the defendant did not suffer prejudice. Dismissal of the indictment would not be an

appropriate sanction under Rule 16.

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      In his motion, Pieron described the mid-trial disclosures as records from

Peregrine Financial Group, Certified IRS records, Records from American Tax

Services, Inc., (Def Motion to Dismiss, ECF No. 39, PageID.231-232). With

respect the records from Peregrine Financial Group, the defense team had the

records before they completed cross exam of the witness from Peregrine. On

Friday, March 1, 2019, the government called a custodian-of-records witness from

Peregrine Financial Group, a company where Pieron had a personal currency

trading account along with several currency trading accounts held by Pieron’s

businesses. (Trial Tr. Vol 3, ECF No. 52, PageID.599). Early during the

government’s direct examination, defense counsel objected to the admission of an

exhibit and told the government and the court that it believed it was missing

records from Peregrine. (Id., ECF No. 52, PageID.610). Government counsel stated

“as far as I know, we gave you everything,” but agreed to double check. (Trial Tr.

Vol 3, ECF No. 53, PageID.611). The trial ended for the week.

      That evening government counsel reviewed its prior discovery productions,

realized that it had not produced all of the Peregrine records, and provided

additional documents—957 pages total—for defense counsel to review over the

weekend. After reviewing the Peregrine documents, government counsel checked

the discovery records from other entities, including American Tax Services, and

disclosed six additional pages of records.

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      As defense counsel noted, there was a massive amount of discovery in this

case. (Trial Tr. Vol 4, ECF No. 53, PageID.638, line 9-15). As soon as the

government recognized that it had not produced discoverable documents related to

Peregrine Financial and American Tax Services, it turned them over.

      Trial resumed the following Monday, March 3, 2019, with the custodian-of-

records witness from Peregrine. On direct examination, the government introduced

and admitted Government Exhibit 115, which was an account application and a W-

8BEN form, signed by Pieron, that stated that Pieron was not a U.S. citizen (Gov’t

Ex. 115, ECF No. 114-55, PageID.2267; Trial Tr. Vol 4, ECF No. 53,

PageID.664). The witness from Peregrine explained that when a person completes

a W-8BEN stating that they are not a U.S. citizen, Peregrine keeps the form on file

and does not issue 1099 forms to the IRS to disclose the person’s income from

currency trading. (Id., ECF No. 53, PageID.651).

      On cross examination, defense counsel showed the witness numerous forms

that Perion submitted to Peregrine stating he was a US citizen and showed the

witness numerous photocopies of Pieron’s US passport that were kept with the

Peregrine records. (Id., ECF No. 53, PageID.657; 669-677). Specifically, defense

counsel showed the witness a copy of a US passport that was with the account




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   records containing the W-8BEN form:




(Id., ECF No. 53, PageID.675). At the end of cross, the witness agreed there were

“passports and applications galore in the files of [Peregrine] saying that [Pieron] is

a US citizen.” (Id., ECF No. 53, PageID.677). As was anticipated by the court, the

cross examination was consistent with the defense theory that Pieron’s submission

of the W-8BEN to Peregrine was a mistake, rather than an intentional effort to

avoid disclosure of assets to the IRS. (Id., ECF No. 53, PageID.642).

      Despite the cross examination testimony, Pieron now claims that if the

records were disclosed earlier, he would have hired a handwriting expert to give

opinion testimony that Pieron’s signature appeared on the copy of the passport that

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was faxed to Peregrine with the account application and W-8 BEN in Government

Exhibit 115, ECF No.114-55. (Affidavit of Rosmarie Urbanski, ECF No. 185,

PageID.4073). This claim seems highly unlikely. During the lengthy discussions at

trial, Pieron’s attorneys never mentioned hiring a handwriting expert, and they

never asked for an adjournment to hire such an expert. Nor would the expert had

added anything beyond the Peregine witness’s cross examination testimony—

specifically, that the passport which was submitted in the fax along with Pieron’s

W-8BEN and account application was Pieron’s U.S. passport.

      During the closing statements, government counsel argued that Pieron

intended to submit a false form W8-BEN to Peregrine, so that he could hide assets

from the IRS. (Trial Tr. Vol 6, ECF No. 55, PageID.1033-1035). In its closing

statement, defense counsel countered that Pieron was not trying to hide his

citizenship from Peregrine as evidenced by the fact that he submitted his passport

along with the account application and W-8BEN in the fax he sent to Peregrine.

(ECF No. 55, PageID.1044-1045.) In rebuttal argument, government counsel stood

by its argument that Pieron intended to represent to Peregrine he was not a US

citizen. The government argued that if Pieron wanted to, he could have sent a

clearer copy of his passport—similar to legible passport photocopies that Pieron

submitted to Peregrine for his business accounts. (Trial Tr. Vol 6, ECF No. 55,

PageID.1071).

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       Even if Pieron had retained a handwriting expert to testify at trial, it would

not have changed any of these arguments. The fact would have remained that

Pieron could have submitted a more legible copy of his passport along with his

account application and W-8BEN—both of which stated that he was not a US

citizen.

       In addition to the records from Peregrine, the government also disclosed six

pages of records from American Tax Services, as discussed above. In the

government’s case-in-chief, the government called Carol Nathan, a tax return

preparer who prepared some of Pieron’s tax returns including his 2008 return. Ms.

Nathan testified on March 1, 2019 (Trial Tr. Vol 3, ECF No. 52, PageID.523-594).

Pieron received the six additional pages of records on the evening of March 1,

2019. In his motion, Pieron argued that if his defense team had the six pages of

records prior, they would have questioned Ms. Nathan about documents or emails

she authored. (Def’s Motion to Dismiss, ECF No. 39, PageID.235). But Pieron has

failed to show how this would have impacted the outcome of the trial. This is

probably because the records were mostly emails that Pieron sent to Nathan. Pieron

likely had these emails in his own records since he either sent or received the

emails: the defense has not claimed otherwise. And the emails authored by Pieron

would have been inadmissible hearsay, unless offered by the government under the

so-called party-opponent hearsay exception, FED. R. EVID. 801(d)(2). Also, if

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Pieron, after reviewing the six pages of records, realized he had an important

question for Carol Nathan, Pieron could have called Nathan as a witness or asked

the government to recall her. He did not do either.

      Similarly, Pieron cannot show any prejudice from the certified IRS records

that were produced on March 1, 2019. In the government’s case-in-chief, it called

an IRS employee, Robert Miller, to testify, among other things, that Pieron was

required to file FBARs (IRS Form 114, Report of Foreign Bank and Financial

Accounts). Miller testified on direct examination and started cross examination on

February 28, 2019. (Trial Tr. Vol 2, ECF No. 51, PageID.368-426). He completed

testifying on cross examination, re-direct, and re-cross on March 1, 2019. (Trial Tr.

Vol 3, ECF No. 52, PageID.464-478). On March 1, 2019, after trial, government

counsel received certified copies of IRS records. All of the records were previously

produced to defense, but not with certifications of authenticity. Government

counsel received the records after trial concluded on Friday, March 1, 2019, and

they disclosed them to defense counsel that evening.

      Pieron claims that if he had the certified copies sooner, he would have

offered, as an exhibit, an addendum that was submitted with an FBAR that Pieron

filed. (Def’s Motion to Dismiss, ECF No. 39, PageID.234-235). Pieron had copies

of the addendum long before trial. In fact, the addendum was included in one of the

defendant’s proposed exhibits—proposed Defense Exhibit 1013—which defense

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 counsel asked to be admitted on February 28, 2010. (Trial Tr. Vol 2, ECF No. 51,

 PageID.392-394). The government objected to the addendum on hearsay grounds.

 (ECF No. 51, PageID.391, line 2 & 3; ECF No. 51, PageID395, line 18 & 19.) The

 court sustained the objection. (Id).

       The court initially reasoned that the addendum in proposed Defense Exhibit

 1013 was not certified, and therefore Mr. Miller was not the proper foundational

 witness. (Id). But even if the record was certified, it would have still had been

 inadmissible as an out-of-court statement concerning why Pieron filed his FBARs

 late. Because the government did not offer the statement under the party-opponent

 exception to the hearsay rule in Federal Rule of Evidence 801(d)(2), the addendum

 was inadmissible even if defense counsel had a certified copy of the FBAR

 addendum.

       After Pieron received the certified IRS records, Pieron attempted to admit

 the same proposed exhibit (proposed Defense Exhibit 1013) through a different

 witness, Dale VanConett, who was an accountant and records custodian for

 Andrews Hooper Pavlik PLC, one of Pieron’s accounting firms. (Trial Tr. Vol 5,

 ECF No. 54, PageID.889-891). At sidebar, the court again refused to admit the

 exhibit, because the addendum to the FBAR was hearsay:




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 (Id., ECF No. 54, PageID.889-890). The result would have been the same if Pieron

 had the certified copy when he tried to admit the exhibit with Mr. Miller.

       Lastly, in Pieron’s motion to dismiss, he alleged that Mr. Miller gave false

 testimony regarding the contents of the certified IRS records and whether they
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 contained addendums. (ECF No. 39, PageID.235-236). This serious accusation is

 completely false. The trial transcripts show that Mr. Miller never gave any

 untruthful testimony regarding the FBAR addendum or anything else. (Trial Tr.

 Vol 2, ECF No. 51, PageID.368-426; Trial Tr. Vol 3, ECF No. 52, PageID.464-

 478). To its credit, Pieron’s post-trial supplemental brief (ECF No. 177) does not

 repeat the accusation or even discuss the certified IRS records.

        The court should deny Pieron’s Brady claims, because the mid-trial

 disclosures did not prejudice him. The court should likewise deny Pieron’s request

 to dismiss the indictment as a Rule 16 sanction, because Pieron cannot show

 prejudice and because government counsel did not act in bad faith.

    2. Pieron is not entitled to relief on his Taxpayer Bill of Rights claim.

       Defendant never raised any Due Process claims or claims related to the

 Taxpayer Bill of Rights before the motion-cutoff of October 31, 2018, or before

 trial. Pieron’s supplemental brief appears to focus on the IRS’s actions prior to the

 indictment and trial. For this reason, the alleged claims should have been raised in

 a pretrial motion prior to the motion cut-off. See FED. R. CRIM. P. 12(b)(3). Even if

 the court were to consider the untimely claims, it should deny them because there

 is no legal basis for them, they are not supported by the evidence, and the jury

 considered and rejected them.




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       Pieron has not raised any cognizable Due Process claim. Despite an

 exhaustive search, there is no case law stating that the rights in the Taxpayer Bill

 of Rights, are “fundamental rights” or are rights protected by the Fifth

 Amendment’s Due Process Clause. Pieron’s motion to dismiss, ECF No. 39,

 PageID.233, cites Santosky v. Kramer, 455 U.S. 745, 785 (1981) a civil case which

 addressed parental rights in a domestic matter. In that case, the Supreme Court

 held, “Before a state may sever completely and irrevocably the rights of parents in

 their natural child, due process requires that the State support its allegations by at

 least clear and convincing evidence.” Id at 748. Pieron’s case is very different.

 Pieron was convicted after the government supported its allegations by proof

 beyond a reasonable doubt as to each element of Pieron’s crime—including that

 income tax was due. (Jury Instructions, Trial Tr. Vol 6, ECF No. 55, PageID 1020-

 1021).

       Pieron had a federal criminal trial in which he was guaranteed his

 fundamental and Due Process rights including the right to present evidence on his

 behalf. He was given notice of the allegations against him in the indictment and in

 a bill of particulars, and he was entitled to challenge the allegations by calling

 witnesses or by testifying. In consultation with his trial team, Pieron decided to do

 neither. Though Pieron provided the government notice of his intent to call expert

 witnesses regarding his tax liability, he ultimately chose not to call the witnesses.

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 Pieron also chose not to call his accountant, Kim Pavlik, and Pieron himself chose

 not to testify, which was his right under the Fifth Amendment. He was not

 deprived of due process.

       Pieron has made numerous allegations against the IRS, without citing to the

 record or any evidence. Several of the Pieron’s claims focus on the fact that he did

 not receive a notice of deficiency under 26 U.S.C. § 6212. (ECF No. 177,

 PageID.4004-4006). But it is undisputed that a notice of deficiency is only required

 when the IRS assesses the tax—not when the tax is self-assessed by a taxpayer’s

 tax return. (ECF No. 177, PageID.4005, “Because James Pieron self-assessed, the

 IRS, if they disagreed, could have provided their own assessment and [issue a]

 Notice of Deficiency….”). See also, Miklaski v. United States, 18 F. Supp. 2d 707,

 710 (E.D. Mich. 1997) (Taxpayer who self-assessed is not entitled to a notice of

 deficiency.)). Here, Pieron’s 2008 and 2009 income tax assessments were self-

 assessed, based on the returns and amended returns that Pieron signed and filed.

 Pieron had notice of the tax he owed to the IRS because he signed and filed the tax

 returns which assessed the tax. Pieron does not cite any portion of the record to

 support his claim that he was denied a notice of deficiency and there is no evidence

 to support Pieron’s other Taxpayer Bill of Rights claims.

       The court gave Pieron latitude to present his arguments regarding the

 Taxpayer Bill of Rights to the jury. Pieron elicited testimony about the Taxpayer

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 Bill of Rights from a government witness, IRS Revenue Agent Robert Miller (Trial

 Tr. Vol 2, ECF No. 51, PageID.423-426), and during the testimony the court

 admitted Defense Exhibit 1031, which recited the Taxpayer Bill of Rights. Pieron’s

 counsel addressed the Taxpayer Bill of Rights again during closing statements.

 (Trial Tr. Vol 6, ECF No. 55, PageID.1050-1051). The jury considered all of the

 evidence—including the evidence regarding the Taxpayer Bill of Rights, yet it still

 convicted him. The court should not overturn that verdict by dismissing the

 indictment after the conviction.

       Because Pieron’s claims regarding the Taxpayer Bill of Rights are untimely,

 without legal or evidentiary support, and have been considered and rejected by the

 jury, the court should deny Pieron’s claims.

       Conclusion

       Pieron’s motion to dismiss—including the alleged Brady and Rule 16

 claims, and the alleged Taxpayer Bill of Rights claims—should be denied.


 Dated: May 17, 2021                   SAIMA S. MOHSIN
                                       Acting United States Attorney

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                          CERTIFICATE OF SERVICE

       I certify that on May 17, 2021, I filed the foregoing document using

 the court’s CM/ECF system which will send notice to all registered parties.


                                              /s Jules M. DePorre
                                              Assistant U.S. Attorney




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